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 1   CLARK COUNTY SCHOOL DISTRICT
 2   OFFICE OF THE GENERAL COUNSEL
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 7

 8                              UNITED STATES DISTRICT COURT

 9                                FOR THE DISTRICT OF NEVADA

10
     A.M., a minor by and through her natural          Case No.: 2:19-cv-00687-RFB-VCF
11   parent and guardian, ZARINAH
     MUHAMMAD; ZARINAH MUHAMMAD
12
                                                       STIPULATION AND ORDER TO
13                Plaintiffs,                          EXTEND THE TIME WITHIN WHICH
                                                       DEFENDANTS MAY ANSWER OR
14        v.                                           OTHERWISE RESPOND TO
                                                       PLAINTIFFS’ SECOND AMENDED
15   CLARK COUNTY SCHOOL DISTRICT;                     COMPLAINT
     JESUS JARA; A.J. ADAMS; FELICIA
16
     GONZALES; DIANE LEWIS;                            (FIRST REQUEST)
17   CHRISTOPHER SPARROW; JOHN DOE
     DEFENDANTS I THROUGH X; and, ROE
18   ENTITIES I THROUGH X
19                    Defendants.
20

21
            Plaintiffs A.M., a minor by and through her natural parent and guardian, ZARINAH
22
     MUHAMMAD and ZARINAH MUHAMMAD (“Plaintiffs”) and Defendants CLARK
23
     COUNTYSCHOOL DISTRICT; JESUS JARA; A.J. ADAMS; FELICIA GONZALES; DIANE
24
     LEWIS; and CHRISTOPHER SPARROW (“Defendants”), by and through their attorneys of
25
     record, hereby stipulate and agree pursuant to Local Rule 7-1 as follows:
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 1          1.     Whereas, on March 9, 2020, the Court held a hearing on Defendants’ Motion to

 2   Dismiss (ECF No. 4). The Court granted Plaintiffs leave to amend their complaint and ordered

 3   Plaintiffs to file the amended complaint by March 30, 2020. ECF No. 13.

 4          2.     Whereas, Plaintiffs were unable to meet the deadline set by the Court on March 9,

 5   2020 (ECF No. 13) due to the unexpected pandemic and the effects of the same.

 6          3.     Whereas, the parties agreed and the Court approved a 30-day extension to the

 7   deadlines set by the Court on March 9, 2020. ECF Nos. 14 and 15. More specifically, Plaintiffs’

 8   amended complaint would be due April 29, 2020, while the parties’ joint discovery

 9   plan/scheduling order or request for a stay of discovery would be due May 6, 2020.

10          4.     Whereas, Plaintiffs filed a second amended complaint on April 30, 2020. ECF No.

11   18. Defendants’ response is due May 14, 2020. Fed R. Civ. P. 15 (a)(3).

12          5.     Whereas, due to unexpected scheduling conflicts, the parties agree to an additional

13   four (4) day extension of time through May 18 2020, for Defendants to respond to the second

14   amended complaint. ECF No. 18.

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 1          6.      Whereas, this is the first request for an extension regarding the filing of Defendants’

 2   response to Plaintiff’s second amended complaint, which is made in good faith, not for the

 3   purposes of delay, and neither party is prejudiced by the short extension.

 4
     DATED: May 14, 2020                                   DATED: May 14, 2020
 5

 6   CLARK COUNTY SCHOOL DISTRICT                          JUSTICE FORCE LAW GOUP LLC
     OFFICE OF THE GENERAL COUNSEL
 7
     By: /s/ Crystal J. Herrera                            By: /s/ Zarinah J. Muhammad
 8   Crystal J. Herrera (#12396)                           Zarinah J. Muhammad (#12830)
     5100 West Sahara Avenue                               6278 Ruby Kinglet
 9   Las Vegas, NV, 89146                                  Las Vegas, NV, 89148
10   Attorney for the Defendants                           Attorney for the Plaintiffs

11
                                                   ORDER
12
                                                   IT IS SO ORDERED.
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15                                                 __________________________________________
                                                   UNITED STATES MAGISTRATE JUDGE
16
                                                              5-15-2020
                                                   DATED: __________________________________
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